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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


                            )
LAWRENCE FULTZ              ) Case No. 2:16-cv-01132-JTM-JCW
                            )
v.                          ) JUDGE JANE TRICHE MILAZZO
                            )
                            )
CHATEAU ORLEANS POBOYS, LLC ) MAGISTRATE JOSEPH C. WILKINSON
                            )



                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Plaintiff, Lawrence Fultz, and Defendant,

Chateau Orleans Poboys, LLC, jointly stipulate to the dismissal of this action.



       Respectfully submitted on this the 11th day of January, 2017.




/s/ _Andrew D. Bizer___________                     /s/ Joseph J. Bailey___
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of January, 2017, a copy of the foregoing was filed
with the Clerk of Court using the CM/ECF system and served upon all counsel of record.

                                                           /s/ Andrew D. Bizer
                                                           ANDREW D. BIZER




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